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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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                                                              :
 AL’S PRODUCE, LLC,                                           :
                                              Plaintiff,      :
                                                              :   20 Civ. 4109 (LGS)
                            -against-                         :
                                                              :        ORDER
 APL CO. PTE LTD,                                             :
                                              Defendant. :
                                                              :
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                                                              X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Court has been informed that the parties have reached a settlement in

principle in this case. Accordingly, it is hereby

        ORDERED that this action is dismissed without costs and without prejudice to restoring

the action to the Court’s calendar, provided the application to restore the action is made within

thirty (30) days of this Order. Any application to reopen filed after thirty (30) days from the date

of this Order may be denied solely on that basis. Any pending motions are DISMISSED as

moot, and all conferences are CANCELLED.


Dated: November 9, 2020
       New York, New York
